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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

UNITED STATES OF AMERICA
ex rel. Jerry Dodd                                                                  PLAINTIFFS

v.                               Case No. 4:19-cv-00132-KGB

BEI PRECISION SYSTEM &
SPACE COMPANY INC. and
J.F. LEHMAN & COMPANY                                                              DEFENDANTS

                                            ORDER

       Before the Court is plaintiff Jerry Dodd’s response to ECF No. 16 and unopposed motion

for voluntary dismissal without prejudice (Dkt. No. 17). Mr. Dodd states that he would like to

dismiss voluntarily his claims without prejudice under Federal Rule of Civil Procedure 41 (Id., ¶

4). Mr. Dodd asserts that defendants have not been served with the complaint, but he has conferred

with counsel for the United States of America who does not oppose the motion to dismiss (Id., ¶

5). For good cause shown, the Court grants Mr. Dodd’s motion to dismiss (Dkt. No. 17). Mr.

Dodd’s complaint is dismissed without prejudice (Dkt. No. 1).

       So ordered this the 14th day of February, 2022.



                                                    Kristine G. Baker
                                                    United States District Judge
